Case 17-50323-jrs             Doc 90   Filed 04/30/21 Entered 04/30/21 16:01:27     Desc Main
                                       Document      Page 1 of 2




                               UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

IN RE:                                         )      CASE NO. 17-50323-jrs
                                               )
KRISTIE JACKSON STARGELL,                      )      CHAPTER 13
                                               )
                   Debtor.                     )
                                               )

                           NOTICE OF WITHDRAWAL OF PROOF OF CLAIM

         Comes Now Pinnacle Credit Union (the “Credit Union”) and withdraws its Proof of Claim

filed on July 31,2017, Claim Number 18 in the amount of $1,015.30, in the above styled case.

         This 30th day of April, 2021.

                                               Respectfully submitted,

                                               KAPLAN, BOGUE & COOPER, P.C.


                                               /s/
                                               Virginia B. Bogue, Georgia Bar No. 065695
                                               5909 Peachtree Dunwoody Road
                                               Suite 990
                                               Atlanta, Georgia 30328
                                               (678) 384-7016 Direct
                                               vbogue@kbclegal.com
                                               Attorneys for Pinnacle Credit Union




{File: 00149426.DOCX / }
Case 17-50323-jrs         Doc 90    Filed 04/30/21 Entered 04/30/21 16:01:27         Desc Main
                                    Document      Page 2 of 2




                           UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                        )       CASE NO. 17-50323-jrs
                                              )
KRISTIE JACKSON STARGELL,                     )       CHAPTER 13
                                              )
                Debtor.                       )
                                              )

                                   CERTIFICATE OF SERVICE

         This is to certify that I have this day served the foregoing Withdrawal of Proof of Claim

by depositing the same to the following parties in the U.S. Mail, to the following parties with

adequate postage affixed thereon:

    Kristie Jackson Stargell                           S. Gregory Hays
    217 Saint Martins Lane SE                          Hays Financial Consulting, LLC
    Mableton, GA 30216                                 Suite 555
                                                       2964 Peachtree Road
    Michael R. Rethinger                               Atlanta, GA 30305
    Law Offices of Michael R. Rethinger, LLC
    1392 McLendon Avenue NE                            Michael J. Bargar
    Atlanta, GA 30307                                  Arnall Golden Gregory, LLP
                                                       Suite 2100
                                                       171 17th Street, N.W.
                                                       Atlanta, GA 30363
         This 30th day of April, 2021.

                                              Respectfully submitted,

                                              KAPLAN, BOGUE & COOPER, P.C.

                                              /s/
                                              Virginia B. Bogue, Georgia Bar No. 065695




                                                  2
